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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                         :
                                               :
   William Steven Stanaitis AKA Steve          :       Case No.: 24-13389
   Stanaitis, AKA Steve Stanaitis              :       Chapter 13
   Penny Mifflin Stanaitis                     :       Judge Patricia M. Mayer
                                               :       ***********************
         Debtor(s).                            :
                                               :


  WITHDRAWAL AND ENTRY OF APPEARANCE OF COUNSEL FOR CREDITOR

         Now comes Stephen R. Franks, who shall be substituted for Alyk L. Oflazian as counsel

of record for creditor Wells Fargo Bank, N.A. ("Creditor"). Alyk L. Oflazian is no longer

counsel for Creditor and should not receive future notices in this case.


/s/ Alyk L. Oflazian                               /s/ Stephen R. Franks
Alyk L. Oflazian (312912)                          Stephen R. Franks (333394)
MDK Legal                                          MDK Legal
P.O. Box 165028                                    P.O. Box 165028
Columbus, OH 43216-5028                            Columbus, OH 43216-5028
614-220-5611; Fax 614-627-8181                     614-220-5611; Fax: 614-627-8181
ALOflazian@mdklegal.com                            srfranks@mdklegal.com




24-023252_PS
Case 24-13389-pmm        Doc 24     Filed 10/17/24 Entered 10/17/24 17:55:32            Desc Main
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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                              :
                                    : Case No.: 24-13389
William Steven Stanaitis AKA Steve  : Chapter 13
Stanaitis, AKA Steve Stanaitis      : Judge Patricia M. Mayer
Penny Mifflin Stanaitis             : *******************

                                  Debtor(s)
                                       :
Wells Fargo Bank, N.A.                 : Related Document #
                               Movant, :
       vs                              :
                                       :
William Steven Stanaitis AKA Steve     :
Stanaitis, AKA Steve Stanaitis         :
Penny Mifflin Stanaitis                :
Kenneth E. West                        :
                              Respondents.

                                CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Withdrawal and Entry of

Appearance of Counsel for Creditor was filed electronically. Notice of this filing will be sent to

the following parties through the Court's Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Kenneth E. West, Chapter 13 Trustee, ecfemails@ph13trustee.com

   JOSEPH L QUINN, Attorney for William Steven Stanaitis AKA Steve Stanaitis, AKA Steve
   Stanaitis and Penny Mifflin Stanaitis, CourtNotices@rqplaw.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:

   William Steven Stanaitis AKA Steve Stanaitis, AKA Steve Stanaitis and Penny Mifflin
   Stanaitis, 349 Mulberry Drive, Royersford, PA 19468


                                                     /s/ Stephen R. Franks


24-023252_PS
